923 F.2d 173
    In re PAC-TEC, INC., Petitioner.PAC-TEC, INC., Plaintiff-Appellant,v.AMERACE CORPORATION, Defendant-Appellee.
    Miscellaneous No. 260.Nos. 89-1329, 89-1692.
    United States Court of Appeals,Federal Circuit.
    Jan. 14, 1991.
    
      Appeal from United States District Court for the Eastern District of Michigan;  Robert E. DeMascio, Judge.
      Owen E. Perry, of Reising, Ethington, Barnard, Perry &amp; Milton, Troy, Mich., argued, for plaintiff-appellant.  With him on the brief, were Jeanne-Marie Buiteweg and Richard W. Hoffmann.  Thomas E. Anderson, Gifford, Groh, Sprinkle, Patmore &amp; Anderson, P.C., Birmingham, Mich., for plaintiff-appellant.
      Ronald A. Sandler, of Jones, Day, Reavis &amp; Pogue, Chicago, Ill., argued, for defendant-appellee.  With him on the brief, was Sandra B. Weiss.  Of counsel were Charles Rutherford, Robert L. Kelly and Dykema Gossett, Detroit, Mich.
      Before MARKEY and PLAGER, Circuit Judges, and BENNETT, Senior Circuit Judge.ORDER
      MARKEY, Circuit Judge.
    
    
      1
      On consideration of Amerace's application for the attorney fees and costs awarded in this court's order of October 30, 1989 and the opposition thereto filed by Pac-Tec, the surviving members of the panel in No. 260 having referred the matter to this panel for disposition simultaneously with Amerace's application for attorney fees and costs in the appeal,
    
    
      2
      IT IS ORDERED that Amerace is entitled to recover from Pac-Tec, within 30 days of the date of this ORDER, the sum of $16,600.20 as attorney fees and costs under the order of October 30, 1989.
    
    